      Case 1:05-cv-02500-TCB Document 46 Filed 07/17/06 Page 1 of 4



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION



GLENN B. LAKEN,                               §
                                              §
                       Plaintiff,             §     CIVIL NO: 1:05-cv-2500-TCB
                                              §
                                              §
vs.                                           §
                                              §
                                              §
FEDERAL BUREAU OF PRISONS,                    §
a federal agency of the                       §
United States Government,                     §
                                              §
                                              §
                       Defendant.             §

       MOTION FOR VOLUNTARY DISMISSAL PURSUANT TO RULE 41(A)(1)

       NOW COMES, the Plaintiff, Glenn Laken and pursuant to Rule 41(a)(1) seeks an order

voluntary dismissing the above-captioned cause.




                                                    Steven B. Muslin
                                                    STEVEN B. MUSLIN
      Case 1:05-cv-02500-TCB Document 46 Filed 07/17/06 Page 2 of 4




                                  CONSENT ORDER


       This matter coming before this court on the defendant’s Motion for Voluntary

Dismissal Pursuant to Rule 41(a) (1). The court being fully advised, the parties being in

agreement, It is hereby ordered that this matter is hereby voluntary dismissed.



       So ORDERED, this                       day of                  , 2006.




                                             ____________________________________
                                             UNITED STATES MAGISTRATE JUDGE
CONSENTED TO:

STEVEN B. MUSLIN                                       DAVID E. NAHMIAS
Attorney for Plaintiff                                 United States Attorney

                                                       SHARON D. STOKES
                                                       Assistant U.S. Attorney
                                                       Georgia Bar No. 227475


                                                       STEPEN H. McCLAIN
                                                       Assistant U.S. Attorney

Steven B. Muslin                                       Stephen H. McClain
Steven B. Muslin, Ltd.                                 U.S. Attorney’s Office
19 South LaSalle Street                                75 Spring Street, S.W.
Suite 700                                              Suite 600
Chicago, Illinois 60603                                (404) 581-6000 (tel)
(312) 263-7249                                         (404) 581-6150 (fax)
     Case 1:05-cv-02500-TCB Document 46 Filed 07/17/06 Page 3 of 4




                          CERTIFICATE OF COMPLIANCE

       I certify that the documents to which this certificate is attached have been

prepared with one of the font and point selections approved by the Court in LR 5.1B for

documents prepared by computer.




                                                     Steven B. Muslin
                                                     STEVEN B. MUSLIN
      Case 1:05-cv-02500-TCB Document 46 Filed 07/17/06 Page 4 of 4




                             CERTIFICATE OF SERVICE

       I certify that I have this day served this proposed CONSENT ORDER by causing

copies to be deposited in the United States Mail addressed as follows:

       Stephen McClain
       75 Spring Street SW
       Suite 600
       Atlanta, GA 30303


       This 9th day of June, 2006.



                                                    Steven B. Muslin
                                                    STEVEN B. MUSLIN
